            Case 1:17-cv-08733-VEC Document 72 Filed 06/07/18 Page 1 of 2

                                                                                               230 Park Avenue
                                                                                               11th Floor
                                                                                               New York, NY 10169-0079
                                                   LLP
                                                                                               (212) 818-9200
                                                                                               (212) 818-9606 (Fax)
Mark Lerner, Esq.
Email: mlerner@ssbb.com                                                                        51 John F. Kennedy Parkway
Direct Dial: (212) 404-8714                                                                    First Floor West
                                                                                               Short Hills, NJ 07078-2713
                                                                                               (973) 218-2509
                                                                                               (973) 218-2401 (Fax)

                                                                                               www.ssbb.com


                                                               June 7, 2018

Via ECF
The Honorable Valerie E. Caproni
United States Courthouse
Southern District of New York
40 Foley Square - Courtroom 443
New York, NY 10007

                     Re:      Daily News Charities, Inc. v. USA Boxing, Metropolitan Association,
                              No. 17-cv-08733-VEC

Dear Judge Caproni:

        We represent Plaintiff Daily News Charities, Inc. (“DNC”) in the above-captioned
matter. In accordance with Rule 1.C of Your Honor’s Individual Rules of Practice, we write to
request an extension of the parties’ deadline of June 8, 20181 to submit a request that the Court
retain jurisdiction over their settlement agreement to June 13, 2018. (See Dkt. 71, May 25, 2018
Order). Counsel for Defendant USA Boxing, Metropolitan Association (“Metro”) did not
respond to DNC’s request for consent to this extension.

        Despite DNC’s counsel’s efforts to obtain the signature on the settlement agreement that
Defendant’s counsel represented was merely a formality and would be forthcoming weeks ago
(see Dkt. 69, Letter of DNC to the Court dated May 24, 2018), Metro’s counsel inexplicably
advised DNC’s counsel yesterday evening—nearly on the eve of the deadline for submitting the
settlement agreement to the Court—that there were several “issues” with the settlement.
Although DNC does not have high hopes for resolving these issues, in the event the parties are
able to do so, DNC requests that the deadline for submission of the agreement be extended to
June 13, 2018.

       DNC’s counsel also respectfully requests that the Court maintain the June 15, 2018
deadline to submit an explanation as to why the case should not be dismissed, as DNC’s counsel




1 Plaintiff’s counsel requests that the Court consider the above request an “emergency” within Rule 1.C of Your
Honor’s Individual Rules of Practice not requiring 48 hours of notice given Defendant’s counsel did not advise
Plaintiff’s counsel of the developments referenced herein until yesterday evening and since the time of the entry of
the Court’s May 25, 2018 order until that point has refused to respond to Plaintiff’s counsel’s emails or telephone
calls.
2983737_3
            Case 1:17-cv-08733-VEC Document 72 Filed 06/07/18 Page 2 of 2


intends to submit a request by that date to re-open discovery should the parties be unable to
resolve Metro’s newly raised issues with the settlement.

                                                         Respectfully submitted,




                                                         Mark Lerner
                                                         Satterlee Stephens LLP
                                                         230 Park Avenue, 11th Floor
                                                         New York, New York
                                                         Tel: (212) 818-9200
                                                         Fax: (212) 818-9606
                                                         mlerner@ssbb.com
                                                         Attorneys for Plaintiff
                                                         Daily News Charities, Inc.

cc: Johnnie Woluewich (via ECF)




2983737_3
